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                 IN THE UNITED STATES COURT OF APPEALS

                          FOR THE ELEVENTH CIRCUIT

                            _________________________

                                  No. 21-12243-D
                            _________________________

 STATE OF FLORIDA,

                                                           Plaintiff - Appellee,

                                        versus

 SECRETARY, DEPARTMENT OF HEALTH AND HUMAN SERVICES,
 HEALTH AND HUMAN SERVICES,
 DIRECTOR OF THE CENTERS FOR DISEASE CONTROL AND
 PREVENTION,
 CENTERS FOR DISEASE CONTROL AND PREVENTION,
 UNITED STATES OF AMERICA,

                                                     Defendants - Appellants.
                           __________________________

                          On Appeal from the United States
                   District Court for the Middle District of Florida
                           __________________________


 BEFORE: WILSON, JILL PRYOR and BRANCH, Circuit Judges.

 PER CURIAM:

       The panel sua sponte VACATES its order of July 17, 2021, and substitutes

 the following order in its place:
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       The appellants’ “Time-Sensitive Motion for Stay Pending Appeal and

 Administrative Stay” is DENIED because appellants failed to demonstrate an

 entitlement to a stay pending appeal. See Nken v. Holder, 556 U.S. 418, 434

 (2009).




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